   Case 2:18-cv-00530-MSD-RJK Document 658 Filed 08/08/23 Page 1 of 1 PageID# 15812

                                   United States District Court
                                       Eastern District of Virginia


  Fernando Galindo
                                                                                                 MARKS. DAVIS
                                                                                                   Chief Judge
   Clerk OF COURT




                                                  August 8, 2023




      TO;     All Counsel of Record


              In re:   NOTICE OF TAXING OF COSTS
                       CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                       2:I8cv530


       Dear Counsel:


              Please take notice that costs will be taxed in the above-styled action on August 30, 2023.
      Neither the parties nor their attorneys shall appear as costs will be taxed on the record. Notice of
      the items taxed will be provided electronically.

              Please take further notice that the parties are required to make a good faith effort to
      naiTow the areas of disagreement. If any modification results trom this consultation, or the
      taxing of costs has been resolved, this office must receive notil ication prior to the date set for
      taxation.


                                                      Very truly yours,

                                                      FERNANDO GALINDO, CLERK

                                                      By:                 /s/ V
                                                            Valerie Ward, Deputy Clerk




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